                 Case 2:23-cv-00576-TL Document 44-1 Filed 07/13/23 Page 1 of 3




 1                                                                            The Honorable Tana Lin

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                                UNITED STATES DISTRICT COURT
 8                        FOR THE WESTERN DISTRICT OF WASHINGTON

 9   NEXON KOREA CORPORATION,                             Case No. 2:23-cv-00576-TL
     a Korean Corporation,
10                                                        [PROPOSED]

11                      Plaintiff,                        ORDER GRANTING DEFENDANTS’
                                                          MOTION FOR RELIEF FROM THE
12          v.                                            INITIAL DISCLOSURES DEADLINE
                                                          AND FOR A PROTECTIVE ORDER
13   IRONMACE CO., LTD., a Korean                         TO STAY DISCOVERY PENDING
     Corporation; JU-HYUN CHOI, individually;             RESOLUTION OF MOTION TO
14   and TERENCE SEUNGHA PARK,                            DISMISS
     individually,
15
                        Defendants.
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17          This matter comes before the Court on the Defendants’ Motion for Relief From the Initial

18   Disclosures Deadline and For a Protective Order to Stay Discovery Pending Resolution of

19   Motion to Dismiss filed by Defendants Ironmace Co., Ltd., Ju-Hyun Choi, and Terence Seungha

20   Park (collectively, “Defendants”).

21          The Court, having considered the motion and the papers filed in support of and in

22   opposition to the motion, hereby GRANTS the motion for the reasons set forth in Defendants’

23   motion.

24          The Clerk is directed to vacate the initial disclosures deadline set in the above-captioned

25   action. Any subsequent discovery is hereby stayed until after resolution of the pending

26   Defendants’ Motion to Dismiss on Grounds of Forum Non Conveniens (Dkt. # 29).
                                                                           GREENBERG GLUSKER FIELDS
      ORDER GRANTING MOTION FOR RELIEF FROM INITIAL                        CLAMAN & MACHTINGER LLP
      DISCLOSURES DEADLINE AND FOR PROTECTIVE ORDER                       2049 Century Park East, Suite 2600
                                                                            Los Angeles, California 90067
      TO STAY DISCOVERY PENDING RESOLUTION OF MOTION                               (310) 553-3610
      TO DISMISS - 1
      No. 2:23-CV-00576-TL
             Case 2:23-cv-00576-TL Document 44-1 Filed 07/13/23 Page 2 of 3




 1         IT IS SO ORDERED.

 2         Dated this ___ day of ____________________, 2023.

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                                             _______________________________
 5                                           Hon. Tana Lin
 6                                           United States District Court Magistrate Judge

 7

 8   PRESENTED BY:
 9
       s/ Michael E. Chait
10   Michael E Chait, WSBA #48842
     Chris J. Lindemeier, WSBA #55515
11   SAVITT BRUCE & WILLEY LLP
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     Aaron J. Moss (pro hac vice)
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26
                                                                    GREENBERG GLUSKER FIELDS
     ORDER GRANTING MOTION FOR RELIEF FROM INITIAL                  CLAMAN & MACHTINGER LLP
     DISCLOSURES DEADLINE AND FOR PROTECTIVE ORDER                 2049 Century Park East, Suite 2600
                                                                     Los Angeles, California 90067
     TO STAY DISCOVERY PENDING RESOLUTION OF MOTION                         (310) 553-3610
     TO DISMISS - 2
     No. 2:23-CV-00576-TL
                 Case 2:23-cv-00576-TL Document 44-1 Filed 07/13/23 Page 3 of 3




 1                                     CERTIFICATE OF SERVICE

 2            I hereby declare under penalty of perjury under the laws of the United States of America

 3   that on this date, the foregoing document was filed electronically with the Court and thus served

 4   simultaneously upon all counsel of record.

 5            I declare under penalty of perjury that the foregoing is true and correct.

 6            EXECUTED on July 13, 2023.

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                                                                             GREENBERG GLUSKER FIELDS
      PROOF OF SERVICE                                                       CLAMAN & MACHTINGER LLP
      No. 2:23-CV-00576-TL                                                  2049 Century Park East, Suite 2600
     43223-00002/4857204.1                                                    Los Angeles, California 90067
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